                                                                                              FI[ED,
                                                                                           U.S. DISTRICT COURT
                                                                                         MIDDLE DISTRICT OF TENN.


                         IN THE UNITED STATES DISTRICT COURT                                  JAN 14 2022
                             MIDDLE DISTRICT OF TENNESSEE
                                NORTHEASTERN DIVISION

UNITED STATES OF AMERICA

                                                     NO.    2:19-cr-00013

       V.                                                    18 U.S.C. § 2339C(c)

                                                            Chief Judge Crenshaw

GEORGIANNA A.M. GIAMPIETRO

                SUPERSEDING INFORMATION
       THE UNITED STATES ATTORNEY CHARGES:

       Between on or about September 23, 2018, and on or about October 23, 2018, in the Middle

District of Tennessee and elsewhere, GEORGIANNA A.M. GIAMPIETRO, a national of the

United States, did knowingly conceal and disguise the nature, location, source, ownership, and

control of material support and resources, as that term is defined in Title 18, United States Code,

Section 2339A(b)(1), knowing and intending that the support and resources, including currency,

personnel, and services, were provided and were intended to be provided in violation of Title 18,

United States Code, Section 2339B.

       All in violation of Title 18, United States Code, Section 2339C(c).

                                                     MARK H. WILDASIN
                                                     UNITED STATES   TORNEY

                                                                                vo
                                                     KATHRYN RISINGER
                                                     PHILIP H. WEHBY
                                                     Assistant United States Attorneys

                                                     JENNIFER LEVY
                                                     Trial Attorney — Department of Justice




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